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                                            Exhibit A

                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

    In Re:
    The Application of:

                                                    Case No.: 1:19-mc-00084-JPH-TAB
    ELI SABAG, for an Order Pursuant to 28
    U.S.C. § 1782 to Conduct Discovery for Use in
    Foreign Proceedings.


        REPLY MEMORANDUM OF LAW IN SUPPORT OF LARS WINDHORST’S
           MOTIONS TO VACATE AND/OR STAY (DOC. 115 AND DOC. 116)
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         Lars Windhorst (“Mr. Windhorst”), through counsel, respectfully submits this Reply

 Memorandum of Law in support of his motions to vacate, modify, and/or stay this Court’s orders

 filed under Docket Entries 115 and 116 (collectively “Motions to Vacate and/or Stay”).

 I.      PRELIMINARY STATEMENT

         Mr. Sabag’s opposition brief (“Opposition”, Doc. 126) provides no legitimate answer to

 the critical question of why it is that, after receiving a multi-million dollar payment awarded to

 him under the parties’ settlement agreement and its amendment (“Settlement Agreement

 Amendment”, Doc. 118-3; collectively with the “Original Settlement Agreement”, Doc. 118-1,

 ‘Settlement Agreement”), Mr. Sabag insists on pursuing discovery in a proceeding that he should

 have voluntarily dismissed over 6 weeks ago. Mr. Sabag was quick to enforce the terms of the

 Settlement Agreement in the summer of 2022 and, through January 2023, had no hesitation to

 enforce the Settlement Enforcement Award (Doc. 118-11), which, in the arbitrator’s own words,

 “incorporat[ed] the terms of the settlement” (Opp. Ex. G, Doc. 127-7). But now that the shoe is

 on the other foot, Mr. Sabag offers a series of baseless reasons for why the agreement is “invalid,”

 why the arbitration shouldn’t proceed, and why this Court should continue to entertain his section

 1782 application (“1782 Action”), despite having been made whole.1

         Much of Mr. Sabag’s Opposition (Doc. 126 at 19-29) is a strawman and an attempt to

 litigate issues that are currently subject to arbitration, including (1) the arbitrator’s jurisdiction over

 Mr. Windhorst’s breach of contract claim, and (2) the validity of the parties’ Settlement

 Agreement. Not only does he fail to meaningfully engage in the Rule 60 factors, he also does not


         1
            Moreover, Mr. Sabag’s own filings in this action reveal that payment of the settlement amount
 would terminate his status as an alleged “victim” in the purported foreign proceedings. Doc. 98 [Sabag’s
 Supplementary Request] at 3, n.5 (“Mr. Sabag considered the settlement agreement with Windhorst as
 causing partial remediation/restitution for Windhorst’s criminal acts against Mr. Sabag. Windhorst’s failure
 to honor his settlement obligation, however, leaves Mr. Sabag as a continued victim without any
 remediation/restitution.”)


                                                      1
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 deny that he has received the multi-million dollar settlement payment that Mr. Windhorst owed

 him. (Doc. 126 at 18.) And while it is undisputed that Mr. Sabag had to wait longer than he hoped

 to receive that money, his assertion (Doc. 126 at 20) that he did not get his “benefit of the bargain”

 rings hollow: Mr. Sabag has enjoyed the full benefits under the Settlement Agreement, having

 pocketed the full $2.85 million settlement payment plus interest and legal fees.

        Many of Mr. Sabag’s factual assertions are either misleading or inaccurate. At the outset,

 Mr. Windhorst’s good cause arguments are centered on his efforts to rectify his liquidity problems.

 Mr. Sabag’s Opposition attempts to cast doubt on Mr. Windhorst’s efforts, and assumes Mr.

 Windhorst could have hired counsel to represent him despite the fact that, as Mr. Sabag has

 acknowledged, (Doc. 126 at 14), Mr. Windhorst’s prior counsel in this 1782 Action withdrew

 because Mr. Windhorst could not pay them.

        Essentially, Mr. Sabag conflates Mr. Windhorst’s reported wealth and Mr. Windhorst’s

 liquidity. Yet despite ignoring this distinction and repeatedly claiming Mr. Windhorst’s liquidity

 problems are a pretextual excuse, Mr. Sabag’s own sources confirm Mr. Windhorst was facing

 liquidity problems. For example, Mr. Sabag cites a November 2022 article from the Financial

 Times as purported evidence that somehow Mr. Windhorst’s failed bank transfers from Euram to

 Mr. Sabag were “fake.” (Doc. 126 at 15.) The Financial Times, blocked by a paywall and not

 provided by Mr. Sabag to the Court, actually confirms Mr. Windhorst’s position here: The

 individual who reported Euram to financial authorities in connection with Mr. Windhorst’s delayed

 wire transfers ultimately apologized to the bank, expressing he “regretted any ‘potential irritation’”

 he caused. (McCready Decl. Ex. 1 [Financial Times Article] at 2.)

        Likewise, Mr. Sabag’s reference to the BVI liquidation proceeding against Sapinda does

 nothing to challenge the validity of the parties’ Settlement Agreement. Contrary to what Mr.




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 Sabag claims, Mr. Windhorst’s BVI counsel never “made multiple direct admissions to Mr.

 Sabag’s counsel” that the Settlement Agreement no longer had any force and effect, or “offered

 additional consideration” if Mr. Sabag would agree to dismiss the Section 1782. (Doc. 126 at 18-

 19.) As evidenced in Mr. Sabag’s Opposition Exhibit I (Doc. 127-9 at 2), Mr. Windhorst’s BVI

 counsel merely relayed Mr. Windhorst’s desire to achieve “a global resolution of all issues” (Opp.

 Ex. I at 2.) Here, Mr. Windhorst’s BVI counsel—who were not involved in the Settlement

 Agreement negotiations and likely never saw a copy of the agreement—were only seeking to have

 Mr. Sabag confirm that he would comply with the Settlement Agreement and “withdraw the

 Indiana proceedings,” so that “the parties can avoid further satellite litigation” to enforce the

 Settlement Agreement.2 (Id.; see also id. (“We also do not agree that it is inappropriate for our

 client to seek a “global” or “partly global” resolution.”).) Indeed, in his very next email (Doc. 118-

 15 at 27), Mr. Windhorst’s BVI counsel noted Mr. Windhorst was willing to compensate Mr. Sabag

 for his legal costs in this 1782 Action to amicably resolve this proceeding, while emphasizing that

 he had “no obligation to do so.” (Windhorst Decl. Ex. 15, at 27; Doc. 126 at 19.) Mr. Sabag’s

 BVI counsel likely had no authority to discuss these matters as they recommended that Mr.

 Windhorst “do so via Mr Sabag’s Indiana counsel.”

         Having fully enjoyed the fruits of the Settlement Agreement, only now has Mr. Sabag come

 forward stating his belief that the agreement is invalid and that the arbitration clause within it does

 not cover Mr. Windhorst’s breach of contract claim. Mr. Windhorst’s counsel spoke with Mr.

 Sabag’s Indiana counsel over the phone on two occasions and sent Mr. Sabag’s Indiana counsel a


         2
            Neither did Mr. Windhorst’s BVI counsel admit the termination of the Settlement Agreement by
 saying that “our client does however accept liability in principle for these amounts,” and “will not require
 the liquidation application to be amended if your client agrees to dismiss the action in Indiana including the
 deposition scheduled for Mr Windhorst therein in return for payment.” Opp. Ex. I at 4. This is consistent
 with Mr. Windhorst’s position that Mr. Sabag’s obligation to dismiss the 1782 Action only arises after Mr.
 Windhorst makes the full payment.


                                                       3
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 letter about Mr. Sabag’s obligation to dismiss this 1782 Action, yet not once did Mr. Sabag or his

 representatives inform Mr. Windhorst that the Settlement Agreement was invalid. See Doc. 119.

         At the time Mr. Windhorst filed his Motions to Vacate and/or Quash, there was no dispute

 over the validity of the Settlement Agreement, let alone the arbitrability of Mr. Windhorst’s breach

 of contract claim. The Settlement Agreement contained a broad arbitration clause covering “any

 issue or dispute relating to the creation, execution, interpretation, performance, or breach of” the

 Settlement Agreement.1      There is no question that language covers Mr. Windhorst’s breach of

 contract claim against Mr. Sabag; indeed, Mr. Sabag relied on the same arbitration clause in his

 August 2, 2022 Motion to Enforce the Settlement Agreement. (Doc. 118-6.) Moreover, the

 reference to ICDR case number 01-20-0003-693, which doesn’t appear to even exist,3 poses no

 bar to arbitrability since there is no doubt the parties must arbitrate their disputes before the ICDR,

 which, if disputed, is a question for the arbitrator, not this Court.

         After the ICDR declined to accept Mr. Windhorst’s Motion to Enforce (Doc. 119-4) in the

 predecessor arbitration and instructed him to file a new claim, Mr. Windhorst did just that (“ICDR

 Arbitration”). (Supp. Bento Decl. Ex. I [Notice of Arbitration], Doc. 123-5.) That arbitration is

 in progress and, while Mr. Sabag has objected to the ICDR’s jurisdiction, the parties have already

 attended a preliminary conference and are proceeding with the selection and appointment of the

 arbitrator. (McCready Decl. Ex.2 [Letter from Mr. Carmona on March 27, 2023); McCready Decl.

 Ex.3 [Email from Mr. Bento on March 27, 2023].) Mr. Windhorst has also filed an Application

 for Emergency Relief, (Supp. Bento Decl. Ex. J [Emergency Arbitrator Application], Doc. 123-6),



         3
            The Settlement Agreement provides that the dispute shall be submitted under case number 01-
 20-0003-693, without the “1” at the end. While the assumption is that the case number should have read
 “01-20-0003-6931”, the typo, if there is one, does not undermine the validity of the agreement to resolved
 disputes before the ICDR, and here only further reflects that the parties included the case number only to
 address logistics, rather to delineate parties’ substantive rights.


                                                     4
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 and the Emergency Arbitrator has elected to proceed with adjudicating Mr. Windhorst’s

 Emergency Application despite Mr. Sabag’s protestations regarding the Emergency Arbitrator’s

 jurisdiction. (Doc. 127-3 [Emergency Arbitrator PO No.1].)

         Relatedly, Mr. Sabag’s argument that he terminated the Settlement Agreement following

 Mr. Windhorst’s failure to pay the settlement funds by August 1, 2022 has no basis in fact or law.

 Mr. Sabag had a choice: (1) terminate the Settlement Agreement and revive his underlying SPA

 and Put Option Agreement claims against Mr. Windhorst, or (2) affirm the validity of the

 Settlement Agreement by seeking a “summary international arbitration award” to obtain the exact

 amount he was supposed to receive from Mr. Windhorst as consideration for the settlement as well

 as attorneys’ fees. Mr. Sabag chose the latter, electing to affirm the continuation of the contract

 in his motion to enforce the Settlement Agreement. Nowhere does the Settlement Agreement refer

 to, nor do any of its provisions amount to a liquidated damages clause.

         Separately, Mr. Windhorst’s ICDR arbitration and request for emergency relief in that

 forum do not interfere with this Court’s authority over this action. Contra Doc. 126 at 8. Mr.

 Windhorst is not asking that the arbitrator order this Court to do anything; rather, Mr. Windhorst’s

 Notice of Arbitration requests the arbitrator to order Mr. Sabag to specifically perform his

 obligations under the Settlement Agreement by voluntarily dismissing this action. (Doc. 123-5 ¶

 92 (“Relief Sought”).) Likewise, the relief Mr. Windhorst has requested from the Emergency

 Arbitrator is simply to request Mr. Sabag to maintain the status quo ante by requiring Mr. Sabag

 to stay discovery (or requesting such a stay) while the parties first arbitrate whether Mr. Sabag has

 breached the Settlement Agreement.4 (Doc. 123-6 ¶ 68 (“Relief Sought”).)



         4
            Similarly, Mr. Windhorst’s request for a stay in his Motions to Vacate and/or Stay is simply to
 maintain the status quo while the arbitration rules on Mr. Sabag’s obligation to dismiss this action. There
 is no harm or prejudice to Mr. Sabag by holding the deposition in abeyance, especially where Mr. Sabag’s


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         Ultimately, Mr. Sabag’s opposition is ineffectual because he simply glosses over the Rule

 55 and Rule 60(b) legal inquiry. As explained in Mr. Windhorst’s opening briefs, he has more

 than met the necessary showing to obtain relief. To allow Mr. Sabag to take a deposition of Mr.

 Windhorst purportedly for use in criminal proceedings against Mr. Windhorst, without considering

 Mr. Windhorst’s opposition arguments on the merits, would be a grave injustice, especially since

 Mr. Sabag has now been made whole. Vacatur and/or a stay of the Deposition Order (Doc. 105)

 and the OSC Order (Doc. 108) (collectively, the “Orders”) is warranted.

 II.     ARGUMENT

       1.     As a preliminary matter, the validity of the arbitral clause in the Settlement
 Agreement is severable from the validity of the Settlement Agreement

         In his Emergency Motion to Stay Arbitration (“Emergency Motion”, Doc. 122)) and his

 Opposition (Doc. 126), Mr. Sabag contests the arbitrability of Mr. Windhorst’s breach of contract

 claim and the validity of the Settlement Agreement. Even if Mr. Sabag is correct that the

 Settlement Agreement is no longer valid (he is not), these questions should be addressed by the

 arbitrator.

         As a matter of substantive federal arbitration law, the validity of the arbitration clause is

 “severable” from the remainder of the relevant agreement, and the arbitrable issues should still be

 referred to the arbitrator if the challenge is not “to the arbitration clause itself.” Rent-A-Ctr, W.,

 Inc., v. Jackson, 561 U.S. 63, 84 (2010); Granite Rock Co. v. Int'l Bhd. of Teamsters, 561 U.S.

 287, 301 (2010) (“[C]ourts treat an arbitration clause as severable from the contract in which it

 appears and enforce it according to its terms unless the party resisting arbitration specifically

 challenges the enforceability of the arbitration clause itself.”).



 allegedly “contemplated foreign proceeding” has not been initiated since filing this 1782 Action more than
 3 years ago and despite having already received discovery from the original Respondents.


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        Here, the validity of the Settlement Agreement’s arbitration agreement cannot reasonably

 be questioned. Indeed, Mr. Sabag has himself previously invoked this arbitration clause. Thus,

 Mr. Sabag’s argument that the Settlement Agreement is no longer valid should be determined by

 the arbitrator. See Rock Hemp Corp. v. Dunn, 51 F.4th 693, 704 (7th Cir. 2022) (finding that

 because the party’s argument does not affect the validity of the arbitration clause specifically, “the

 issue of the contract’s validity must be considered by the arbitrator in the first instance.”).

       2.     This Court Need Not Rule On the Validity of the Settlement Agreement or
 Arbitration Agreement to Vacate its Prior Orders

        Although Mr. Sabag would have this Court decide whether he has breached the Settlement

 Agreement, that question is already pending in the ICDR arbitration.5 The Court need not decide

 that question to vacate the Orders. For example, Mr. Windhorst’s excusable neglect argument

 provides grounds for this Court to vacate its Orders without resorting to any contractual

 interpretation or any finding that Mr. Sabag is in breach of the Settlement Agreement because it is

 premised on Mr. Windhorst’s good faith efforts to tender payment to Mr. Sabag and good faith

 belief that doing so would result in this 1782 Action being dismissed. The Court need not actually

 determine whether Mr. Windhorst’s good faith belief is the correct interpretation of the Settlement

 Agreement. Similarly, the Court may sustain the objections, stay this 1782 Action pending

 resolution of the ICDR Arbitration, and/or grant leave to file the 1782 Opposition without resort

 to any contractual interpretation of the Settlement Agreement.

        Nonetheless, this Court can consider the Settlement Agreement and its terms in order to

 revisit its discretion when granting the 1782 application and application for an order to show cause.




        5
          Mr. Windhorst never waived his right to arbitrate. He filed his motion in the ICDR (raising the
 same arguments he raised in the new arbitration, per the ICDR’s instructions) before moving before this
 Court. Doc. 119 [Bento Decl.] ¶ 12.


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 See Doc. 105 at 5-6 (weighing discretionary factors in favor of discovery); Huckaba v. CSX

 Transp., Inc., 2015 WL 11237032, at *1 (S.D. Ill. July 20, 2015) (“The court has sound discretion

 to determine whether the facts require vacating its earlier order.”) (citing Smith v. Widman

 Trucking & Excavating, Inc., 627 F.2d 792, 795 (7th Cir.1980)); Estate of Brown v. Arc Music

 Group, 523 F.App’x. 407, 410 (7th Cir. 2013) (taking judicial notice of a settlement agreement in

 public records)6; Rolon v. Henneman, 389 F.Supp.2d 517, 519 (S. D. N. Y 2005) (court taking

 notice of the settlement to determine if claims are barred by the previous settlement);Akzo

 Coatings, Inc. v. Aigner Corp., 909 F. Supp. 1154, 1159 (N.D. Ind. 1995) (whether to reconsider

 an order before the final judgment is “within the sound discretion of the district court.”); People

 for Ethical Treatment of Animals, Inc. v. Wildlife in Need & Wildlife in Deed, Inc., 2019 WL

 3342087, at *4-5 (S.D. Ind. July 25, 2019) (exercising discretion to deny an order to show cause

 for sanctions where the defendants, represented by counsel, transferred the property in violation

 of the court’s preservation order but stated they would abide by the court’s order in the future; the

 court noted that “contempt is a serious remedy, often not imposed until a court has no other

 options.”); United States v. Int’l Bus. Machines Corp., 1975 WL 960, at *1 (S.D.N.Y. Oct. 3, 1975)

 (“the granting of an order to show cause is in the nature of an extraordinary remedy”).).

        Relatedly, the Court can also stay this action pending the outcome of the ICDR Arbitration,

 which will provide a definitive interpretation of the parties’ Settlement Agreement. (Doc. 115

 [Windhorst’s Opening Brief on Vacating/Stay Depo Order] at 11-12 (legal standard of motion to

 stay pending arbitration).)   That would provide the most efficient path to resolve this dispute,




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            The Settlement Agreement is a public record, as part of Track Group, Inc.’s SEC Form
 8-k filing. https://trackgrp.com/wpcontent/uploads/2022/06/TRCK-8K.pdf.


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 since an arbitral award ordering Mr. Sabag to dismiss this proceeding would resolve this action in

 toto, and an award to the contrary would narrow the issues before this Court.

       3.    The Court Has Inherent Authority To Vacate The Orders, And Mr.
 Windhorst Has Shown He Is Entitled To Relief Under Federal Rules of Civil Procedure 55
 & 60(b)

        Mr. Windhorst is entitled to relief under Rules 55, 60(b), and/or the court’s inherent

 authority to vacate its own orders.

        At the outset, whether the Court proceeds under Rule 55 or Rule 60(b), the legal test is the

 same. United States v. Di Mucci, 879 F.2d 1488, 1495 (7th Cir. 1989) (“The test is the same for

 relief under either Rule 55(c) or Rule 60(b)”). And while there has technically been no entry of

 default or default judgment, the orders here effectively function as such. Indeed, Mr. Sabag’s

 argument (Doc. 126 at 29-30) that Rule 60 is inapplicable because the Orders are not “final

 order[s]” is without merit. Courts still apply Rule 60 to non-final orders. See, e.g., Elder-Keep v.

 Aksamit, 460 F.3d 979, 984 (8th Cir. 2006) (analyzing the motion to reconsider a non-final order

 under Rule 60(b); Yates v. Lifchitz, 2012 U.S. Dist. LEXIS 121623, at *4 (S.D. Ill. Aug. 28, 2012)

 (“Motions in civil actions asking the district court to reconsider an order or set aside a judgment

 typically are analyzed under either Federal Rule of Civil Procedure 59(e) or Rule 60(b).”).

        In any event, Mr. Sabag cannot dispute that the court has inherent authority to reconsider

 its Orders. See, e.g., Hill Dermaceuticals, Inc. v. Anthem, Inc., 2017 WL 26861, at *1 (M.D. Fla.

 Jan. 3, 2017) (“As long as a district (or an appellate) court has jurisdiction over the case, then (in

 absence of prohibition by statute or rule), it possesses the inherent procedural power to reconsider,

 rescind, or modify an interlocutory order for cause seen by it to be sufficient.”). This makes sense,

 particularly in the § 1782 context where the standard procedure for challenging a § 1782

 application that has been granted by a court is to move to vacate the court’s order granting the

 application, which is precisely what Mr. Windhorst has done here. Courts (including this Court in


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 this case) regularly vacate orders granting § 1782 discovery in such circumstances. See Doc. 69

 (vacating the order granting Mr. Sabag’s initial § 1782 application); La Comision Ejecutiva

 Hidroelecctrica Del Rio Lempa v. El Paso Corp., 617 F. Supp. 2d 481, 487 (S.D. Tex. 2008)

 (ordering that a motion to reconsider the court’s decision to grant a § 1782 Application is “more

 properly termed a Fed.R.Civ. P. 60(b) motion for relief from a judgment or order); In re Ex Parte

 Application of Eli Lilly & Co., 580 F. Supp. 3d 334, 342 (E.D. Va. Jan. 18, 2022), aff’d, 37 F.4th

 160 (4th Cir. 2022) (vacating the order granting § 1782 application); In re Alpene, Ltd., 2022 WL

 15497008, at *4 (E.D.N.Y. Oct. 27, 2022) (same); In re Webuild S.P.A., 2022 WL 17807321, at

 *3 (S.D.N.Y. Dec. 19, 2022) (same).

        Here, as described below, Mr. Windhorst has met the three-part test for relief under Rules

 55 and 60(b). Accordingly, the Court should vacate the Orders.

                a.         Mr. Windhorst Has Shown Good Cause For His Delay

        Mr. Windhorst has shown good cause for his delay in the form of excusable neglect, newly

 discovered evidence, release from the prior order, and other justifiable circumstances.

                      i.         Mr. Windhorst Has Shown Excusable Neglect

        Mr. Windhorst has shown excusable neglect under FRCP 60(b)(1) based on his focus on

 addressing his liquidity problems in order to pay the settlement funds to Mr. Sabag rather than

 continuing to litigate a dispute the parties had agreed to resolve upon payment of the settlement

 funds. Mr. Windhorst’s liquidity problems are not fictional, as Mr. Sabag would have this Court

 believe – indeed, Mr. Sabag acknowledges Mr. Windhorst’s prior counsel in this matter, Sidley

 Austin, withdrew because Mr. Windhorst could not pay them. (Doc. 126 at 14.)

        In over two pages of briefing on whether Mr. Windhorst has shown excusable neglect, it is

 telling Mr. Sabag not only makes no effort to distinguish Mr. Windhorst’s cited cases, (Doc. 115




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 at 13-14; Doc. 116 at 12-13), but he only cites a single case, Cato v. Thompson, 118 F. Appx. 93

 (7th Cir. 2004), to support his argument. That case is readily distinguishable. (Doc. 126 at 31.)

 In Cato, the party asserting excusable neglect, unlike Mr. Windhorst, was represented by counsel

 in the court’s proceeding. Cato, 118 F. Appx. at 94. Moreover, the Seventh Circuit’s reprimand

 of “outright and consistent disregard of the court’s scheduling orders,” was only directed to the

 attorneys, and not a pro se party. Id. at 96-97 (holding the attorney’s conduct failed to meet the

 standard for excusable neglect for his disregard of the court’s scheduling order); Easley v. Kirmsee,

 382 F.3d 693, 698 (7th Cir. 2004) (noting that the conduct by the attorney is the “type of” disregard

 of a court’s scheduling orders that failed to justify relief).

         Moreover, contrary to Mr. Sabag’s baseless assertion (Doc. 126 at 33), Mr. Windhorst has

 provided sworn evidence showing he believed Mr. Sabag intended to comply with the settlement

 agreement. For one thing, from July 2022 to the date that Mr. Sabag submitted his opposition to

 Mr. Sabag’s motion to Vacate and/or Stay, the word “termination” never appeared in the parties’

 correspondence, submissions to the arbitrators, or awards/correspondence from the arbitrator.

 Neither did Mr. Sabag otherwise inform Mr. Windhorst that he would not perform his obligation

 under the Settlement Agreement. See Windhorst Decl. ¶¶ 7-11, 14-17 and the exhibits attached

 therein; infra, § II.6.7

         If anything, Mr. Sabag’s Opposition supports Mr. Windhorst’s arguments that he has

 established excusable neglect. Mr. Sabag readily admits Mr. Windhorst was pro se in this 1782


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             Mr. Sabag’s reliance on Mr. Windhorst ‘s BVI counsel’s correspondence with Mr. Sabag’s BVI
 counsel is not to the contrary. Doc. 126 at 33 (citing Doc. 127-9). At the outset, Mr. Sabag’s BVI counsel
 neither told Mr. Windhorst’ BVI counsel that Mr. Sabag will not dismiss this 1782 Action nor that Mr.
 Sabag had believed the Settlement Agreement was void. Moreover, Mr. Sabag’s BVI counsel, like Mr.
 Sabag, has been focused on obtaining payment, so Mr. Windhorst thought Mr. Sabag was only willing to
 comply with his obligation upon receiving the payment. Doc. 118 ¶¶13, 15-16. Therefore, after resolving
 the liquidity and administrative issues and making the payment, Mr. Sabag promptly hired Quinn Emanuel
 to ask Mr. Sabag perform his obligation. Doc. 119 [Bento Decl.] ¶¶ 3-7.


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 Action since mid-October 2022, and that Mr. Windhorst’s prior counsel withdrew due to Mr.

 Windhorst’s liquidity problems. (Doc. 126 at 14.) Moreover, Mr. Sabag’s reliance on the

 Financial Times article undermines his assertion that Mr. Windhorst’s Euram bank transfers were

 fraudulent, as the article states the resolution of Mr. Windhorst’s delayed Euram banks transfers

 involved the complainant issuing an apology to the bank. (McCready Decl. Ex.1 at 2 )

                     ii.       Newly Discovered Evidence Warrants Vacating the Deposition
                               Order

        Mr. Windhorst has shown new evidence under Rule 60(b)(2) warrants vacating the

 Deposition Order. Prior to Mr. Sabag filing his Supplementary Request, he and Mr. Windhorst

 executed the Settlement Agreement, which as discussed in Mr. Windhorst’s opening briefs (Doc.

 115 at 5; Doc. 116 at 5-6) and below (infra, § II.6), required (1) Mr. Windhorst to pay Mr. Sabag,

 and (2) Mr. Sabag to release and dismiss, inter alia, this 1782 Action within 5 business days of

 receiving the payment.     It is undisputed that at the time the Court granted Mr. Sabag’s

 Supplementary Request Mr. Windhorst had not paid the settlement funds. (Doc. 126 at 34

 (acknowledging that “this Court granted the Supplementary Request on December 15, 2022,” and

 that Mr. Windhorst made the payment “on February 8, 2023”).) Because Mr. Sabag elected to

 affirm the Settlement Agreement rather than revive his claims in the underlying arbitration against

 Mr. Windhorst, Mr. Windhorst’s payment of the settlement funds after the date of the Deposition

 Order resulted in Mr. Sabag being obligated to dismiss this 1782 Action, which is directly relevant

 to the Court’s assessment of whether Mr. Sabag can show his requested discovery satisfies §

 1782’s statutory and discretionary requirements.

        Mr. Sabag cites a five-part test for relief under Rule 60(b)(2), (Doc. 126 at 34), but only

 argues Mr. Windhorst has failed to meet a single factor: the evidence must be newly discovered

 since the trial. That, of course, is incorrect. As stated above, Mr. Windhorst paid Mr. Sabag after



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 the date the Court entered Deposition Order. Tellingly, Mr. Sabag does not cite any authority to

 support his contention that “Mr. Windhorst cannot assert that his payment of the Final Award

 ordered in the Arbitration was ‘newly discovered,’ as it was newly created by Mr. Windhorst.”

 (Doc. 126 at 34.) That payment was for Mr. Sabag’s own benefit – indeed, he agreed to receive

 the funds. (Doc. 126 at 18-19.) Moreover, the Seventh Circuit has recognized that newly

 discovered evidence can be considered in a motion to vacate or modify, even if that evidence was

 created by the parties’ own conduct. See Elzinga & Volkers, Inc. v. LSSC Corp., 47 F.3d 879, 822-

 23 (7th Cir. 1995) (holding district court should have considered, on Rule 60 motion, newly created

 contract between parties). Accordingly, relief under Rule 60(b)(2) is appropriate.

                     iii.      Mr. Sabag Released this 1782 Action

        Mr. Windhorst has also shown he is entitled to relief under Rule 60(b)(5) because Mr.

 Sabag released this 1782 Action. Mr. Sabag’s argument to the contrary (Doc. 126 at 34-35) cites

 no legal authority. Mr. Sabag’s argument that he terminated the Settlement Agreement fails for

 the reasons set forth below. Infra, § II.6. Therefore, Mr. Sabag has released Mr. Windhorst of any

 liability in this 1782 Action pursuant to the Settlement Agreement.

                     iv.       Mr. Windhorst Is Entitled To Relief Under Rule 60(b)(6)

        As explained in Mr. Windhorst’s Motions to Vacate and/or Stay (Doc. 115 at 16-17; Doc.

 116 at 14-16) and as noted above, (supra, §§ II.1.a.i&ii), the totality of the circumstances here

 warrants vacatur under Rule 60(b)(6) and/or based on the court’s inherent authority. Those

 circumstances include: the presence of the Settlement Agreement, Mr. Sabag’s affirmation of it,

 Mr. Windhorst’s liquidity problems, Mr. Sabag filing a new discovery request (which seeks to

 compel Mr. Windhorst to violate his privileges, no less) in a closed case and changing the target

 from a third party to Mr. Windhorst himself (and therefore transmute Mr. Windhorst, as a mere




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 intervenor, into a respondent), and the resulting harm on Mr. Windhorst. Unlike Mr. Sabag, Mr.

 Windhorst has provided several authorities in his Motions to Vacate and/or Stay supporting his

 argument that these circumstances are sufficient to warrant find Rule 60(b) relief. Compare Doc.

 115 at 16-17 and Doc. 116 at 14-16, with Doc. 126 at 35-36. Mr. Sabag’s refusal to dismiss this

 1782 Action, in connection with the rest of his conduct in affirming the Settlement Agreement,

 renders the circumstances here particularly suitable for Rule 60(b) relief.

        Accordingly, Mr. Windhorst has shown good cause for his delay.

                b.      Windhorst Took Quick Action To Correct The Delay

        Next, Mr. Windhorst has taken quick action to correct his delays in responding to Mr.

 Sabag’s Supplementary Request (Doc. 98) and his Motion for Order to Show Cause (Doc. 107).

 Mr. Windhorst explains the quick action he took in his respective Motions to Vacate and/or Stay

 (Doc. 115 at 17; Doc. 116 at 16). Indeed, Mr. Windhorst promptly filed his Motions to Stay and/or

 Vacate merely three weeks after the date on which Mr. Sabag should have dismissed this 1782

 Action. Courts have found quick action in response to longer delays than those at issue here. See

 Doc. 115 at 17-19 (citing cases); Doc. 116 at 16-18 (citing cases); see also Sims v. EGA Prods.,

 Inc., 475 F.3d 865 (7th Cir. 2007) (five months after the deadline constitutes “quick action”);

 Colvin v. Nannenga, 2010 WL 3001947, at *1 (N.D. Ind. July 26, 2010) (two-month delay

 qualifies as “quick action,” especially when the defendant at first thought the issue had been

 solved, and when he realized that the issues hadn’t been resolved, he retained an attorney quickly,

 and the attorney filed the motion as soon as he could gather the necessary facts).

        Tellingly, Mr. Sabag has made no arguments to the effect that Mr. Windhorst’s actions

 were not “quick” or that Mr. Sabag has been prejudiced by Mr. Windhorst’s delay. See Doc. 126

 at 31-36. That is because Mr. Sabag has not been prejudiced at all. Indeed, he has been paid in




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 full, including interest and other fees. Infra, § II.6. As such, Mr. Sabag is effectively in the same

 position as if he had received the full settlement payment on August 1, 2022. Having reaped the

 full benefits under the Settlement Agreement, Mr. Sabag has suffered no prejudice, especially in

 light of his obligation under the Settlement Agreement to dismiss the proceeding.

                  c.     Mr. Windhorst Has A Meritorious Defense

        Finally, Mr. Windhorst has a meritorious defense with respect to both Mr. Sabag’s

 Supplementary Request and Mr. Sabag’s Motion for Order to Show Cause. In light of Mr.

 Windhorst’s arguments set forth in his opening briefs (Doc. 115 at 20-21; Doc. 116 at 18-20) and

 his Proposed Opposition to Mr. Sabag’s Supplementary Request (Doc. 115-2), it is no surprise that

 Mr. Sabag’s opposition completely ignores this portion of the Rule 55 / 60(b) test. See Doc. 126

 at 31-36.

        With respect to the Deposition Order, Mr. Windhorst has explained why Mr. Sabag’s

 Supplementary Request has not satisfied the statutory requirements under § 1782 and why the

 discretionary factors weigh against Mr. Sabag’s Supplementary Request. See Doc. 115 at 20-21

 (citing Doc. 115-2 at § IV.). Mr. Windhorst has more than met his burden to show a meritorious

 defense to Mr. Sabag’s Supplementary Request.

        With respect to the OSC Order, Mr. Windhorst has also provided ample legal and factual

 support as to why the OSC Order should not have been issued. (Doc. 116 at 18-20.) Specifically,

 Mr. Sabag has suffered no prejudice as a result of Mr. Windhorst’s delay beyond briefing the OSC

 Motion and paying for a court reporter,8 and there is zero likelihood of disrupting a trial because

 there is no trial in a § 1782 proceeding. Id. Finally, Mr. Windhorst has acted in good faith and



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             In any event, Mr. Windhorst has offered to reimburse Mr. Sabag for those expenses. Doc. 119
 ¶ 8.


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 has aimed to avoid expending further judicial resources in connection with this 1782 Action that

 should by now have been dismissed. As such, Mr. Windhorst has also met his burden to show a

 meritorious defense to Mr. Sabag’s Motion for Order to Show Cause.

       4.      The ICDR’s Closing of the Predecessor Arbitration and Does Not Impact the
 Arbitrator’s Jurisdiction over Mr. Windhorst’s Breach of the Settlement Agreement Claim

        Mr. Sabag argues that by agreeing to submit the arbitration to ICDR under the same case

 number as the original ICDR arbitration, Mr. Windhorst forfeited all rights after the final award is

 issued under this case number. (Doc. 126 at 28.) That is simply not true.

        Courts are clear: where an arbitration agreement demonstrates the parties’ clear intent to

 arbitration, its validity will not be affected by the unavailability of the parties’ logistic choices.

 Carr v. Gateway, Inc., 944 N.E.2d 327, 333 (Ill. 2011) (upholding the arbitration agreement even

 if the designated arbitral forum fails, where “the designation of an arbitral forum is only an

 ancillary, logistical concern and the primary consideration is the intent to arbitrate disputes”);

 Khan v. Dell, Inc., 669 F.3d 350, 354 (3d Cir. 2012) (upholding the arbitration agreement despite

 unavailability of parties’ chosen arbitral institution, unless parties “have unambiguously expressed

 their intent not to arbitrate their disputes in the event that the designated arbitral forum is

 unavailable”); see also Travelport Global Distrib. Sys. BV v. Bellview Airlines Ltd, 2012 WL

 3925856, at *5 (S.D.N.Y.) (upholding the agreement with a non-existent forum). Here, the

 language of the arbitration agreement makes it clear the parties have intended to arbitrate any

 disputes regarding the breach of the Settlement Agreement before the ICDR, particularly when the

 reference to ICDR itself is sufficient to confer ICDR full administrative authority, according to the

 ICDR Rules. ICDR Procedures (2021) at § 1.2 (“when [the parties] provide for arbitration of an

 international dispute by the ICDR or the AAA without designating particular rules, they thereby




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 authorize the ICDR to administer the arbitration.”);9 see also ICDR Procedures (2014) (same).10

 As noted above, (supra, § I at 4), the reference to the case number of the parties’ existing arbitration

 is clearly for logistical concerns such as efficiency and cost.11 To the extent Mr. Sabag dispute the

 intent of the arbitration clause, “any doubts concerning the scope of arbitrable issues should be

 resolved in favor of arbitration,” Moses H. Cone Mem'l Hosp. v. Mercury Constr. Corp., 460 U.S.

 1, 24-25 (1983), and that dispute should be submitted to the arbitrator. See Doc. 115 at 25-26

 (collecting cases); Yellow Cab Affiliation, Inc. v. New Hampshire Ins. Co., 2011 WL 307617, at

 *7, n.11 (N.D. Ill. Jan. 28, 2011) (“Even in cases where the parties have not specifically

 empowered the arbitrator to determine his own jurisdiction, courts have left questions of whether

 an agreement to arbitrate has expired or terminated for the arbitrator to determine.”).

         Moreover, Mr. Sabag’s interpretation, which assumes the parties contemplated at the time

 of contracting that the Settlement Agreement’s arbitration clause would become obsolete upon a

 final award, (Doc. 126 at 28), crumbles when the Settlement Agreement’s arbitration clause is read

 in light of the entire Settlement Agreement. Molina v. Harvard Maint., 2021 WL 5281098, at *2

 (S.D.N.Y. Nov. 11, 2021) (when determining parties’ intent to arbitrate and interpreting the




         9

 https://www.icdr.org/sites/default/files/document_repository/ICDR_Rules_1.pdf?utm_source=icdr-
 website&utm_medium=rules-page&utm_campaign=rules-intl-update-1mar.
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 https://www.icdr.org/sites/default/files/document_repository/ICDR_Rules.pdf?utm_source=icdr-
 website&utm_medium=rules-page&utm_campaign=rules-intl.
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              Mr. Sabag incorrectly interprets Menorah Home v. Local 144, to argue the court “rejected the
 AAA arbitration when a party ignored an agreement to make any new filings under the same AAA case
 number.” Doc. 126 at 8 (citing 573 F. Supp. 908 (E.D.N.Y. 1983), aff’d sub. nom. 751 F.2d 370 (2d Cir.
 1984)). In Menorah Home, the court rejected the AAA arbitration only because the court found that the
 parties had not entered into a valid arbitration agreement regarding the disputes at issue, where the parties
 merely agreed they may submit disputes to arbitration. Menorah Home, 573 F. Supp. at 912. Here, in
 contrast, the broad arbitration clauses is not optional – it applies to, inter alia, disputes related to breaches
 of the Settlement Agreement. Doc. 118-1 at ¶ 13.


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 arbitration agreement in a contract under New York law, “a reading of the contract should not

 render any portion meaningless,” and “the contract should be read as a whole, with every part

 interpreted with reference to the whole.”) (citing Wilson v. PBM, LLC, 140 N.Y.S.3d 276, 283

 (N.Y. App. Div. 2021)). At the outset, if the parties intended to limit arbitrability to only disputes

 or issues arising before entry of a final award, they could have said just that.12 Moreover, as

 discussed below, (infra, § II.5), the Settlement Agreement imposes ongoing obligations on both

 parties that persist beyond the entry of a final award. It would make little sense for the parties to

 a global settlement agreement imposing ongoing mutual obligations to draft an arbitration clause

 broadly covering disputes and issues related to the Agreement yet to limit that clause to an

 undetermined period.

         Mr. Sabag’s position as to the effect of the prior ICDR arbitration being “closed” is quite

 similar to an argument rejected by the District Court of the District of Columbia addressing a

 substantially similar issue regarding the AAA’s authority to reopen a closed case:

         Petitioners assert that the AAA manifestly disregarded the law by reopening the
         arbitration after it had been terminated. The Crux of this claim is that after the AAA
         terminated the arbitration, there was no AAA Rule permitting the AAA to reopen
         the arbitration. . . .

         Petitioners’ claim fails, as Respondent correctly asserts, because while there may
         be no AAA Rule that permits the reopening of a terminated arbitration, the record
         contains no indication that there is an AAA Rule that forbids the AAA from taking
         that action. Given that there is no AAA Rule forbidding the reopening of a
         terminated proceeding, and no other viable legal doctrine has been presented that
         precludes the AAA from taking that action—let alone one that was acknowledged
         by the AAA or the arbitrators—the Court cannot conclude that “the arbitrators
         knew of a governing legal principle yet refused to apply it or ignored it altogether”
         by reopening the arbitration, or that the law ignored by the arbitrators was well

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               In contrast, the arbitration agreement only provides that the parties shall submit the dispute
 under case number 01-20-0003-693, and did not impose any limitations on ICDR’s administrative authority
 or jurisdiction. Doc. 118-1 ¶ 13. Indeed, as set forth in Article 1.2 of the ICDR Rules, “when [the parties]
 provide for arbitration of an international dispute by the ICDR or the AAA without designating particular
 rules, they thereby authorize the ICDR to administer the arbitration.”


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         defined, explicit, and clearly applicable to the case. That the AAA initially thought
         they should not reopen the arbitration but ultimately decided to do so does not
         change this analysis.

 Ray v. Chafetz, 236 F. Supp. 3d 66, 79-80 (D.D.C. 2017) (emphasis added) (internal citations and

 quotations omitted); see also Finn v. Anderson, 2013 WL 12085092, at *4 (S.D.N.Y. Sept. 6,

 2013), aff'd, 592 F. App'x 16 (2d Cir. 2014) (observing that closed arbitration was reinstated at

 one party’s urging); Lonon v. J.G. Wentworth Co., 2018 WL 5316349, at *3 (E.D. Pa. Oct. 26,

 2018) (noting AAA administratively closed the matter without prejudice due to party’s failure to

 pay arbitration fees).

         Here, as no ICDR rule forbids reopening closed cases, it remains entirely possible that the

 arbitrator and/or the ICDR will reopen the prior case or assign the same case number once

 jurisdictional objections are resolved. And even if the ICDR elects not to reopen the prior

 arbitration or assign the same case number,13 that does not stand in the way of the ICDR’s

 jurisdiction because, as explained above, the reference to the case number of the parties’ existing

 arbitration is clearly for logistics concerns such as efficiency and cost. The fact that Mr. Sabag is

 seeking discovery here via a closed case but yet seeks to invoke the closure of the arbitration to

 avoid arbitration is not lost on Mr. Windhorst.

         5.      The Final Award Does Not Bar Mr. Windhorst’s New Breach of Contract
 Claim

         Throughout his Opposition, Mr. Sabag asserts the Final Award in the predecessor

 arbitration (Windhorst Decl. Ex. 12, Doc. 118-12) precludes Mr. Windhorst’s current breach of

 contract claim. Neither the Final Award nor the law supports this view.




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              Mr. Sabag has stated in the ICDR Arbitration that he opposes the reappointment of the prior
 arbitrator based on, inter alia, conflict of interest grounds.


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        At the outset, Mr. Sabag misrepresents the plain language of the Final Award. The final

 paragraph of the Final Award says “[a]ny and all other claims and counterclaims arising out of this

 arbitration are dismissed.” (Doc. 118-12 at ¶12(e) (emphasis added).) This does not mean, as Mr.

 Sabag claims, (Doc. 126 at 23), the ICDR arbitrator “dismissed all claims and counter claims

 arising out of the Settlement Agreements.” Nowhere is that language found in the award. In any

 event, a dismissal of a claim, without an adjudication on the merits, is not the same as the

 evisceration or invalidation of a right, let alone of an entire agreement. See Gustavia Home LLC

 v. VVS1 Corp., 2019 WL 2527291, at *4 (E.D.N.Y. June 19, 2019), aff’d, 805 F.App’x. 82 (2d.

 Cir. 2020) (dismissal does not equate to a “valid and conclusive adjudication of the parties’

 substantive rights”). Thus, the prior arbitrator did not eviscerate Mr. Windhorst’s rights under the

 Settlement Agreement by including a boilerplate dismissal of claims and counterclaims at the end

 of the Final Award

        At a fundamental level, Mr. Sabag’s argument fails because he ignores a simple yet crucial

 fact: Mr. Windhorst did not have a cause of action for breach of the Settlement Agreement at the

 time the Final Award was made because Mr. Windhorst had not triggered Mr. Sabag’s obligation

 to dismiss this proceeding. At that time, Mr. Windhorst had not paid the settlement funds. There

 is no dispute the Final Award was issued before Mr. Windhorst paid Mr. Sabag, (Doc. 126 at 16-

 18), and there is no dispute Mr. Sabag’s obligation to dismiss this 1782 Action only arose after

 Mr. Windhorst effectuated payment. (Doc. 118-1 at ¶ 5). Thus, Mr. Windhorst’s claim was not

 before the prior arbitrator and not dismissed.

        Tellingly, Mr. Sabag doesn’t cite any authority for the proposition that an arbitrator

 dismissing all claims and counterclaims before him at the time of the award precludes a party from

 initiating a new arbitration under the same agreement that includes an arbitration clause. Indeed,




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 Mr. Sabag’s position contravenes the well-established res judicata doctrine which provides the

 preclusive effect of an arbitral award can only bar subsequent claims that “were, or could have

 been raised” in the prior proceeding, Bancol y. Cia. S. en C. v. Bancolombia, 280 F. App’x 85, 86

 (2d Cir. 2008) (an international arbitration award bars claims in subsequent actions only when

 those claims “were, or could have been, raised in the prior action.”), and does not bar later “claims

 which did not even then exist.” Marvel Characters v. Simon, Inc. 310 F.3d 280, 286-87 (2d Cir.

 2002) (no preclusive effect when the contractual rights at issue did not exist at the first action); see

 also Collins v. Experian Credit Reporting Serv., 2004 WL 3078825, at *2 (D. Conn. Dec. 22,

 2004) (the dismissal in the prior action does not preclude claims related to “any new breach” of

 the settlement agreement); Reynolds v. U.S. Dep’t of Just., 10 F. Supp. 3d 134, 144, n.4 (D.D.C.

 2014) (refusing to dismiss Count Eight because “Count Eight alleges that [the party] breached the

 settlement agreement.… Because the alleged breach occurred after the prior suit, … was

 dismissed, it could not have been litigated in that case and is not barred by res judicata.”).

        To try to circumvent the res judicata doctrine, Mr. Sabag offers bald statements that “the

 parties explicitly agreed that the final award in the ICDR Arbitration would be ‘Final,’” and that

 “when all of the parties agreed that any disputes over the Settlement Agreements must be filed

 under the same ICDR case number, they all presumed that all performance and counter-

 performance needed to occur in advance of any awards from the ICDR arbitrator.” (Doc. 126. at

 28.) Mr. Sabag did not provide (because he cannot) any evidence of how Mr. Windhorst has

 “explicitly” agreed, let alone “presumed,” that “all performance and counter-performance needed

 to occur in advance of any awards from the ICDR arbitrator.” The Settlement Agreement on its

 face refutes Mr. Sabag’s position, as it contains numerous provisions beyond Mr. Windhorst’s

 obligation to make a payment.         Indeed, many of these provisions, for example, the non-




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 disparagement clause and the covenant not to pursue legal or equitable claims, (Doc. 118-1 at ¶

 8), impose ongoing obligations on both parties that are readily encompassed by the broad

 arbitration clause applying to “any issue or dispute relating to the creation, execution,

 interpretation, performance, or breach of [the Settlement] Agreement.” (Id. at ¶ 13.) Under Mr.

 Sabag’s interpretation, if, hypothetically Mr. Windhorst disparages Mr. Sabag tomorrow, Mr.

 Sabag could not arbitrate that breach of the non-disparagement clause against Mr. Windhorst even

 though he had no reason to know Mr. Windhorst would disparage him after the prior arbitrator

 issued the Final Award. There is simply no reason why the ordinary scope of res judicata should

 be superseded by Mr. Sabag’s say-so.14

          By the same token, Mr. Windhorst is not trying to have the ICDR relitigate the issue

 previously before the ICDR, or otherwise affecting the finality of the Final Award, no matter how

 many times Mr. Sabag repeated that in his Opposition. See, e.g., Doc. 126 at 16; id. at 23, footnote

 23 (string citing cases where the claims existed before the issuance of a final award).15 Mr.

 Windhorst did not attempt to vacate the Final Award, because Mr. Windhorst does not deny that

 he was under an obligation to pay Mr. Sabag by August 1, 2022 (and, by paying the interest, to

 make sure Mr. Sabag was enjoying the benefits of the payment as if he had received it on August

 1, 2022), and that Mr. Sabag’s obligation to dismiss the 1782 Action came after Mr. Windhorst

 made the payment, according to the terms of the agreement. Mr. Windhorst merely seeks to have

 the arbitrator resolve these subsequent developments related to the Settlement Agreement.


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              It is well established that “[p]rocedural issues, including . . . the res judicata effect of a prior
 arbitration award . . . are for the arbitrator, so long as the subject matter of the dispute is within the arbitration
 clause.” Chicago Typographical Union No. 16 v. Chicago Sun Times, 860 F.2d 1420, 1424 (7th Cir. 1988).
          15
             Mr. Sabag’s cited cases actually support Mr. Windhorst’s position: Ganton Techs. v. Int’l Union,
 United Auto, Aerospace & Agric. Implement Workers of Am., U.A.W., Loc., 358 F.3d 459, 462 (7th Cir.
 2004), which is cited in Doc. 126 at 23, provides that the “failure to pose an available argument to the
 arbitrator waives that argument.” (emphasis added).


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         Similarly, Mr. Sabag’s reliance on the doctrine of functus officio is misplaced. “The

 doctrine of functus officio does not bar submission of any claim or issue to a second arbitration if

 that claim or issue has not been decided previously by the arbitrators.” New York Hotel and Motel

 Trades Councilv. Hotel St. George, 988 F. Supp. 770, 781-82 (S.D.N.Y. 1997) (holding that “[t]he

 doctrine of functus officio does not apply here because the [] Award is neither a reconsideration

 of, nor an amendment to, the first award,” and that the second complaint is “separate and distinct

 from the one that resulted in” the first award). Thus, and for the same reason that the Final Award

 does not extinguish Mr. Windhorst’s rights under the Settlement Agreement (i.e., Mr. Windhorst’

 breach of contract claim was not decided by the predecessor arbitrator), functus officio does not

 apply here. See Glass, Molders, Pottery, Plastics & Allied Workers Int'l Union, AFL-CIO, CLC,

 Loc. 182B v. Excelsior Foundry Co., 56 F.3d 844, 846 (7th Cir. 1995) (Posner, J.) (The functus

 officio doctrine “originated in the bad old days when judges were hostile to arbitration and

 ingenious in hamstringing it.…Today, riddled with exceptions, it is hanging on by its

 fingernails.”).

         In sum, the Final Award does not preclude the ICDR from adjudicating Mr. Windhorst’s

 claim that Mr. Sabag has breached the Settlement Agreement.

        6.     Despite Mr. Windhorst’s prior breach, the Settlement Agreement remains
 valid because Mr. Sabag elected to affirm the validity of it

         As Mr. Sabag acknowledges (Doc. 126 at 22), under New York law, a party’s breach does

 not automatically discharge the non-breaching party the obligation under the contract. See Parlux

 Fragrances, LLC v. S. Carter Enters., LLC, 204 A.D.3d 72, 86 (N.Y. App. Div. 2022) (“a party,

 upon learning of a material breach of a contract, must choose between terminating the contract and

 continuing performance.”) Rather, the non-breaching party has to elect his remedy: either to

 continue or terminate the contract. Id.; Doc. 126 at 21-22 (citing ESPN, Inc. v. Office of Comm’r



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 of Baseball, 76 F. Supp. 2d 383, 387 (S.D.N.Y. 1999)).)         Under this doctrine, the party must

 “make an election and cannot at the same time treat the contract as broken and subsisting.” ESPN,

 76 F. Supp. 2d at 388. In other words, “one may not both affirm and disaffirm a contract . . . or

 take a benefit under an instrument and repudiate it.” Sofi Classic S.A. de C.V. v. Hurowitz, 444 F.

 Supp. 2d 231, 238 (S.D.N.Y. 2006).

         Sofi Classic S.A. is particular instructive, as the court held that a party needs to honor its

 obligation under the settlement agreement when that party “elected to affirm the continued validity

 of the Settlement Agreement” by bringing an action for breach of the Settlement Agreement

 against the [the opposing party], obtaining a judgment, and seeking to enforce that judgment

 against the [opposing party]. Id. at 238 (“because by doing so, that party “have ‘gained an

 advantage’ through this course of action, in that they hold judgments against the [opposing

 party].”).

         Here, as described in further detail below (infra, § II.6.b) and in Mr. Windhorst’s arbitration

 filings (Doc. 123-5; Doc. 123-6), Mr. Sabag chose to affirm the Settlement Agreement so he could

 receive the full benefit thereof. Indeed, he does not dispute that he has received the full $

 2,8500,000 owed under the Settlement Agreement plus interest to compensate for the delay plus

 legal fees to compensate for the “headache”16 in having to seek a summary award. (Doc. 126 at

 18-19.) But the consequence of doing so – as opposed to terminating the Settlement Agreement

 to pursue his underlying Put Option Agreement and SPA claims – is that Mr. Sabag must also

 perform his obligations under the Settlement Agreement. City of New York v. New York Pizzeria

 Delicatessen, 2006 WL 2850237, at * 7 (S.D.N.Y. Sep. 29, 2006) (“When the non-breaching party

 elects to continue the contract, ‘it is not freed from its obligations under the contract, despite the


         16
              Doc. 126 at 27.


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 [other] party's breach.’”) (citing ESPN, 76 F. Supp. 2d at 397-98); Lemus v. Manhattan Car Wash,

 Inc., 2010 WL 4968182, at *10, (S.D.N.Y. Nov. 24, 2010) (“[P]laintiff’s motion to enforce the

 settlement agreement presumes that the agreement will remain in effect; it will therefore bind him

 according to its terms, requiring him to release defendants from his prior claims upon payment of

 the settlement sum.”)

          In his Opposition, Mr. Sabag, for the first time since the Final Award, claims that he had

 “chose[n] to terminate the Settlement Agreements by filing a motion for immediate entry of

 summary award with the arbitrator to enforce the liquidated damages provision of the Settlement

 Agreement.” (Doc. 126 at 9.) Mr. Sabag’s claims that (1) the Settlement Agreement contains a

 liquidated damages provision, and (2) the Settlement Agreement has been terminated are without

 merit.

                 a.      The Settlement Agreement and its Amendment does not contain a

                         Liquidated Damages clause

          A core premise of Mr. Sabag’s argument is that the Settlement Agreement and its

 Amendment allowed him to seek liquidated damages. This assertion is contradicted by the plain

 language of the agreement and by black-letter law.

                                (i)    No requisite “express agreement” of a liquidated damage
                                       clause can be found in the Settlement Agreement or its
                                       Amendment

          The parties’ Settlement Agreement does not contain a liquidated damages clause. Under

 New York law, “a liquidated damage clause must be the result of an express agreement between

 the parties; courts will not read such a clause into a contract by implication.” Raymond Weil., S.A.

 v. Theron, 585 F. Supp. 2d 473, 489 (S.D.N.Y. 2008) (quoting Ohanian v. Avis Rent A Car Sys.,

 779 F.2d 101, 109 (2d Cir. 1985)). Where a clause calls the payment of a “fixed sum,” it is not a

 liquidated damage clause if courts find “it is anything but clear from the record” that the parties


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 “intended the [payment] to constitute as damages.” Ohanian, 779 F.2d at 119-110. Also, if “there

 is no express language in the contract that designates the [provision in dispute] as a liquidated

 damages clause,” and the [provision in dispute] “appears to constitute [the party]’s contemplated

 consideration under the contract,” then such a provision is not a liquidated damages clause. Chase

 Manhattan Bank, N.A. v. Am. Nat’l Bank & Tr. Co. of Chicago, 889 F. Supp. 121, 123 (S.D.N.Y.

 1995). Moreover, “[w]hen the [non-breaching party’s] actual loss is easily ascertainable, then [a]

 liquidated damages clause will be treated as a penalty and thereby unenforceable.” Harrington v.

 Hasan, 743 N.Y.S.2d 684, 688 (N.Y. Civ. Ct. 2002) (awarding actual damages instead of applying

 liquidated damages clause because the plaintiff’s damages were ascertainable).

        Mr. Sabag now asserts that Section 3 of the Amendment to the Settlement Agreement is a

 liquidated damages clause. (Doc. 126 at 21.) Section 3, which Mr. Sabag neglects to mention is

 titled “Reservation of Rights,” reads as:

                Sabag reserves all rights and remedies available to him in the event
                the required payment is not made by the extended due date
                including, but not limited to, the right to seek interest on the amount
                owed, reasonable attorneys’ fees, and the right to seek an immediate
                summary international arbitration award fully enforceable pursuant
                to the Inter-American and New York Conventions. Windhorst shall
                not contest whether the payment called for by the Settlement
                Agreement is due and owing. Windhorst reserves the right to
                contest the reasonableness of any attorneys’ fees or interest sought.

                Doc. 118-3 at § 3 (emphasis added).

        This provision of the Settlement Agreement Amendment is not a liquidated damages clause

 because there is no indication in Section 3 of the Settlement Agreement Amendment, the remainder

 of the Amended Settlement Agreement, and the parties’ correspondence evidence the parties’

 intent for the “Reservations of Rights” section to function as a “liquidated damages clause.” The

 terms “liquidated damages” and “termination” appear nowhere in any of the parties’ agreements,




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 correspondence, or submissions to the arbitrator. Rather, the $2.85 million settlement amount

 stated in Section 2 of the Settlement Agreement Amendment reflects the parties’ agreed upon

 consideration to resolve Mr. Sabag’s various claims against Mr. Windhorst. Doc. 118-3 at § 2.

 Moreover, the “Reservation of Rights” section is just that: it reserves and emphasizes the rights

 that the Settlement Agreement has already conferred to Mr. Sabag, which is to enforce Mr.

 Windhorst’s substantive obligations under the Settlement Agreement. Id. at § 3. This “reservation

 of rights” does not confer Mr. Sabag any new rights (such as rights to liquidated damages) beyond

 allowing him to resort to a summary award process. See id.

        Section 4 of the Settlement Agreement Amendment highlights the flaw in Mr. Sabag’s

 position. That section provides that “except as specifically set forth above, all terms and conditions

 of the Settlement Agreement remain in full force and effect, and the Amendment is intended solely

 to provide Windhorst additional time in which to pay Sabag.” (Doc. 118-3) at § 4 (emphasis

 added).)17 Since the Original Settlement Agreement itself does not have a liquidated damage

 clause, any effort to interpret the Settlement Agreement Amendment as subjecting Mr. Windhorst

 to the additional liability of liquidated damages would contravene the explicit language of Section

 4 of the Settlement Agreement Amendment. See Emcee Personnel v. Morgan Lewis Bockius, LLP,

 702 N.Y.S. 2d 633, 634 (N.Y. App. Div. 2000) (holding a court should interpret a contract to give

 effect to the parties’ intentions, as expressed in the language of the contract, and, in interpreting a

 contract, a court may not add or delete terms).




        17
             This clause also explicitly refutes Mr. Sabag’s repeated misrepresentation that “The Amended
 Settlement Agreement specifically modified the Original Settlement Agreement such that Mr. Windhorst
 affirmatively would lose all of his rights under the Settlement Agreements if he did not make a prompt
 payment.” Doc. 126 at 21.


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        Moreover, the fact that Mr. Sabag could seek a summary award for the exact amount the

 parties’ determined to be Mr. Sabag’s actual damages is further evidence that the Settlement

 Agreement does not contain a liquidated damages clause. “The case law is clear that a liquidated

 damages clause will be upheld when the amount liquidated bears a reasonable proportion to the

 probable loss and the amount of actual loss is incapable or difficult of precise estimation.”

 Harrington, 743 N.Y.S.2d at 687 (N.Y. Civ. Ct. 2002) (emphasis in original) (citation omitted).

 As Mr. Sabag’s actual loss was the settlement amount, which was obvious from the face of the

 agreement,, there is simply no basis for a liquidated damages clause. See id.

        Accordingly, Settlement Agreement does not have a liquidated damage clause.

                               (ii)    The Arbitrator Did Not Interpret Mr. Sabag’s Motion to
                                       Enforce as a Motion to Terminate for Liquidated Damages

        The prior arbitrator’s awards clearly show the arbitrator did not consider Mr. Sabag’s

 Motion to Enforce as a termination of the Settlement Agreement.            Rather, the Settlement

 Enforcement Award was clearly issued based on the continued validity of the Settlement

 Agreement. In the Settlement Enforcement Award, (Doc. 118-11) ¶¶ 5-6), the arbitrator, in

 reaching his decision, did not even mention Section 3 of the Amendment to Settlement Agreement

 (i.e., the section with the clause Mr. Sabag claims to be a “liquidated damages clause”). Likewise,

 in the arbitrator’s “Analysis” section, the arbitrator merely finds Mr. Windhorst to have breached

 the Settlement Agreement without any inquiry into Mr. Sabag’s injury or any other legal

 requirements related to assessing damages after finding of a breach. Id. at ¶¶ 11-14. There is

 simply no indication whatsoever the prior arbitrator intended to award liquidated damages.

        Moreover, Mr. Sabag’s own evidence confirms that the prior arbitrator’s understanding

 was that the Settlement Agreement would survive the arbitration. Mr. Sabag cites a preliminary

 ruling from the prior arbitrator showing the arbitrator “grant[ed] Claimant [Mr. Sabag]’s motion



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 to issue an Award incorporating the terms of the settlement between Claimant and the Respondents

 Sapinda Asia Limited (“Sapinda”) and Lars Windhorst that had previously been agreed, but not

 completed.” Doc. 127-7. This makes clear the prior arbitrator did not view Mr. Sabag’s motion

 to enforce as terminating the Settlement Agreement, but rather to incorporate and preserve the

 terms of the settlement within the award. See Eatoni Ergonomics, Inc. v. Research in Motion

 Corp., 633 F. Supp. 2d 109, 115 (S.D.N.Y. 2009) (finding that the arbitral award does not

 extinguish the arbitral clause because the award incorporates the Settlement Agreement and

 “specifically references the arbitration clause.”)

                                 (iii)   Mr. Sabag’s Sole Authority is Distinguishable

        Mr. Sabag’s argument rest entirely on NAS Electronics.18 (Doc. 126 at 24.) However, that

 case is readily distinguishable. For starters, NAS Electronics did not deal with a “summary

 international arbitration award”, which in addition to being an undefined term in both the

 agreement and under the ICDR Rules, does not readily appear elsewhere in the arbitration

 literature. The language of the contended clause in NAS Electronics was clear and unambiguous

 in setting forth a payment of “fixed amount” that was independent from the parties’ substantive

 obligations in the Settlement Agreement, including the settlement consideration. It provided that

 in the event of default, “plaintiff may … enter Judgment against defendants … in the principal

 amount of US $3,200,000.00. … The only issues the Court may consider in connection with

 Plaintiffs’ motion to reopen the case and for entry of Judgment is whether (i) the required payment

 has been made ….”NAS Electronics, 262 F. Supp. 2d at 146; Transtech Electronics Pte Ltd. v.

 NAS Electronis, Inc., 2000 WL 381428, at *1 (S.D.N.Y. April 13, 2000) (the opinion of the

 judgment entered against the defendants in the amount of $ 3,200,000). The amount in this clause


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             NAS Electronics, Inc. v. Transtech Electronics Pte Ltd., 262 F. Supp. 2d 134 (S.D.N.Y. 2003).


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 was unrelated to the amount of the primary settlement payment obligation. Id. (observing

 settlement called for $800,000 payment over 5 years, with first payment of $50,000). Additionally,

 the court in NAS Electronics entered the judgment of US $3.2 million based on finding the clause

 was unambiguous such that the plaintiffs were entitled to the judgment “in accordance with the

 plain language of the agreement,” Transtech Electronics Pte Ltd., 2000 WL 381428, at *2.

 Furthermore, the court also noted that “in the absence of any breach, [the contract] did not impose

 any obligation on either the plaintiffs or the defendants.” NAS Electronics,, 262 F. Supp. 2d at 146.

        Section 3 of the Amendment to the Settlement Agreement is distinct from the clause at

 issue in NAS Electronics. First, the plain language of Section 3 of the Amendment to the

 Settlement Agreement says that Mr. Sabag reserves the right “to seek an immediate summary

 international arbitration award.” It does not provide Mr. Sabag is specifically entitled to entry of

 a judgment in a specified amount, let alone a distinct amount reflecting liquidated damages instead

 of the parties’ bargained-for consideration. Furthermore, in NAS Electronics, there was no survival

 clause akin to Section 4 of the Amendment to the Settlement Agreement, which provides “except

 as specifically set forth above, all terms and conditions of the Settlement Agreement remain in full

 force and effect.”

        Finally, the Settlement Agreement Amendment’s language that Mr. Windhorst “shall not

 contest whether the payment called for by the Settlement Agreement is due and owing” does not,

 as Mr. Sabag argues, “create the liquidated damages scenario.” Doc. 126 at 22. This clause does

 not limit what an adjudicator may or may not do. By contrast, in NAS Electronics, the settlement

 agreement provided that “[t]he only issues the Court may consider in connection with Plaintiffs’

 motion to reopen the case and for entry of Judgment is whether (i) the required payment has been

 made.” Transtech Electronics Pte Ltd., 2000 WL 381428, at *1. In fact, court in NAS Electronics




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 relied upon this restrictive language to find the parties’ “unambiguous intent” to enter into a

 judgment solely based on the clause at issue. Id. at *3. Here, in contrast, the arbitral tribunal is

 not restricted to consider issues Mr. Windhorst agreed not to contest.

                 b.       Mr. Sabag has elected to affirm the validity rather than terminating the
                          Settlement Agreement and suing for liquidated damages

         Mr. Sabag claimed that he elected to terminate the Settlement Agreement by “filing a

 motion for immediate entry of summary award with the arbitrator to enforce the liquidated

 damages provision of the Settlement agreement.” (Doc. 126 at 9.) Not so. He has reaped the full

 benefits of the Settlement Agreement, which was resulted from his affirmation of the Settlement

 Agreement. While an attempt to retrospectively terminate the agreement may appear convenient

 to Mr. Sabag, it is belied by the law and facts. At the outset, he did not, as he claimed, “los[e] the

 benefit of his bargain”, or otherwise suffered loss in the process of obtaining the payment. (Doc.

 126 at 27.)19 Any such claimed loss in relation to the delay in payment have been fully

 compensated, on the assumption of the continued validity of the Settlement Agreement.

         While it is undisputed that Mr. Sabag did not actually receive the $ 2,85 million on August

 1, 2022, he had been compensated with interest starting to accrue on August 2, 2022 and ended

 until the day of the payment, which had essentially made him be in the same position as if he had

 received the $ 2,85 million on August 1, 2022. See Art Press Ltd. v. Western Printing Mach. Co.,

 852 F.2d 276 (7th Cir. 1988) (“interest compensates people for the time value of money.”); Doc.

 118-15 at 1 (showing that Mr. Windhorst has paid all interests from August 2, 2022 to February 8,



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              Mr. Sabag also claims that by having to initiate the BVI proceeding, Mr. Sabag has lost the
 consideration of “discharging all claims.” (Doc. 126 at 10). Mr. Sabag elected to voluntarily pursue
 additional claims against Sapinda in the BVI, so any purported “lost [ ] consideration” is entirely of his own
 doing. Indeed, Mr. Windhorst’s obligation to discharge Mr. Sabag of claims under the Settlement
 Agreement does not include “those obligations that are created by and set forth in this Agreement.” . Doc.
 118-1 at ¶ 6.b.


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 2022); Doc. 126 at 19 (acknowledging that Mr. Sabag had received the amount of the settlement

 payment, with interest20). Additionally, Mr. Windhorst has also paid all the costs that Mr. Sabag

 incurred to obtained the payment, including the attorneys’ fees and the fees in the BVI proceeding.

 (Doc. 126 at 19 (acknowledging that Mr. Sabag had also received “costs, and “BVI legal fees”).)

        Mr. Sabag’s conduct shows he intended to affirm the validity of the contract and to enforce

 all the terms of the contract, rather than terminating the contract to only enforce a purported

 “liquidated damages” clause. Never in parties’ correspondence did Mr. Sabag state that he had

 terminated the Settlement Agreement. Rather, as noted in Mr. Windhorst’s opening brief, Mr.

 Sabag has only demanded payment from Mr. Windhorst. (Doc. 115 at 5-7; Windhorst Decl. ¶¶ 5-

 11, 14). Demand of payment is not recognized as a sign of terminating the agreement. See Fox y

 Garcia Constr. & Dev. Corp. v. Brijall Realty Corp., 57 Misc. 3d 1225 (N.Y. Civ. Ct. 2017)

 (demand of payment is a request for performance, not a termination of the agreement).

        Moreover, Mr. Sabag’s claim that he terminated the Settlement Agreement upon filing his

 Motion to Enforce the Settlement Agreement has no basis in the record. Doc. 126 at 9. Nothing

 in Mr. Sabag’s Motion to Enforce the Settlement Agreement states, let alone suggests, Mr. Sabag

 was terminating the Settlement Agreement. Indeed, Mr. Sabag moved to “enforce” the Settlement

 Agreement where he specifically requested the arbitrator “enforce the terms of the parties’ signed

 Settlement Agreement against Mr. Windhorst, as amended.” Windhorst Decl. Ex. 6 (Doc. 118-6)

 at 6. Furthermore, Mr. Sabag’s Motion to Enforce the Settlement Agreement did not even mention




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             Here, Mr. Sabag misrepresented that Mr. Windhorst has only paid “post-Award interest”. Doc.
 126 at 19. To the contrary, Mr. Windhorst has paid “interest on 2,850,000 at 9% per annum from 2 August
 2022”, the day immediately following Mr. Windhorst’s payment deadline, meaning Mr. Sabag has reaped
 the full benefit as if he received the full payment on August 1, 2022. Doc. 118-15 at 1.


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 “damages,” let alone claiming he was seeking “liquidated damages” or that Section 3 of the

 Amendment to the Settlement Agreement was a liquidated damages clause. See id.

         Furthermore, after Mr. Sabag filed his Motion to Enforce, on August 4, 2022, Edward

 Mullins, Mr. Sabag’s counsel in the ICDR proceeding to Mr. Calamari, saying “we can only accept

 per bank regulations the ‘settlement monies.’”21 (Doc. 118-7.) If Mr. Sabag really elected to

 terminate the contract and sue for liquidated damages, he would not have sought “settlement

 monies” but rather “damages,” as the former is based on the continued validity of the Settlement

 terms. Neither can Mr. Sabag reconcile his argument that he terminated the Settlement Agreement

 when he filed his Motion to Enforce and the fact that: 1) he relied on the original terms of the

 Settlement Agreement (¶ 10, a standalone clause) in claiming “‘costs, expense, and reasonable

 attorneys’ fees’ incurred as a result of a dispute relating to the Settlement Agreement”, in both his

 Motion to Enforce and post-summary-award Petition for Fees and Costs (Doc. 118-6 at 4-5;

 McCready Decl. Ex. 4 [Sabag Fee Petition] at 2) in his Petition for Fees and Costs, Mr. Sabag

 claimed that “[w]hile the Settlement Agreement does have a release, the Agreement is clear—the

 Release is not effective until after payment is made” and “any release by Mr. Sabag is only

 effective upon receipt of the settlement funds” (Id. at 8) (emphasis added).

         In fact, if, during the briefing of his Motion to Enforce, Mr. Sabag had ever mentioned that

 he had elected to terminate the Settlement Agreement and was claiming liquidated damages, Mr.

 Windhorst would have objected that Section 3 of the Settlement Agreement was not a liquidated

 damages clause, and that he could not terminate the contract and enforce all terms of the contract

 at the same time.22 By couching his purported motion to terminate the Settlement Agreement as


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             McCready Decl. Ex. 5 (on August 2, 2022, after filing Mr. Sabag’s Motion to Enforce, Mr.
 Mullins stated to Mr. Calamari that “if, in fact, your client paid we will withdraw [the Motion to Enforce].”).
         22
              Supra, § II.6.i.


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 Motion to Enforce, seeking in that motion for Mr. Windhorst to pay up under the parties’ contract,

 and by remaining silent about his thirteenth-hour view that he had terminated the Settlement

 Agreement in subsequent correspondence, Mr. Sabag has affirmed the validity of the Settlement

 Agreement. Having done so, Mr. Sabag cannot “assume[] a contrary position now, simply because

 his interests have changed,” as it has come time for him to perform. See Wells Fargo Bank v.

 Sokaogon Chippewa Comm., 787 F. Supp. 2d 867, 877 (E.D. Wis. 2011) (“where a party assumes

 a certain position in a legal proceeding, and succeeds in maintaining that position, he may not

 thereafter, simply because his interests have changed, assume a contrary position, especially if it

 be to the prejudice of the party who has acquiesced in the position formerly taken by him”); See

 also Jean v. Auto & Tire Spot Corp., at *4, n.4 (E.D.N.Y. May 24, 2013), report and

 recommendation adopted, (E.D.N.Y. May 28, 2013) (denying the motion to reopen, noting

 “[m]oreover, by seeking both to enforce the Settlement Agreement and to reopen the case, plaintiff

 is requesting mutually exclusive types of relief. However, plaintiff cannot have his proverbial cake

 and eat it too.”) (internal citation omitted); see also Sofi Classic S.A. de C.V., 444 F. Supp. 2d at

 238 (holding plaintiff’s affirmed the parties’ settlement agreement by bringing an action for breach

 of the settlement agreement, obtaining a judgment, and seeking to enforce the judgment).

                c.      Mr. Sabag’s Efforts to Distinguish Mr. Windhorst’s Cases are Unavailing

        Despite Mr. Windhorst having cited numerous cases across this 1782 Action and the

 parties’ new arbitration proceeding, (Doc. 119-4 [Windhorst’s Motion to Enforce] at ¶¶ 29-33

 (citing cases); Doc. 123-5 [Windhorst’s Notice of Arbitration] at ¶¶ 71-72 (citing cases)), Mr.

 Sabag ignores the vast majority of Mr. Windhorst’s supporting authorities to take aim at Sofi

 Classic S.A. de C.V. v. Hurowitz, 444 F. Supp. 2d 231 (S.D.N.Y. 2006). See Doc. 126 at 26-27.

 The distinction Mr. Sabag draws between Sofi Classic and the instant case does not stand. Mr.




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 Sabag misinterprets Sofi Classic to mean that the “election of remedies” doctrine only comes into

 play when a party tries to bring new claims. (Doc. 126 at 26-27. ) Not only is this not the holding

 of Sofi Classic, but Mr. Sabag’s position makes little sense in that his Motion to Enforce was for

 breach of the Amended Settlement Agreement while his underlying claims in the arbitration were

 for, inter alia, breaches of other contracts. Compare Doc. 118-6 [Mr. Sabag’s Motion to Enforce]

 at 6 (seeking to enforce the Settlement Agreement) with Doc. 33-3 [Mr. Sabag’s Notice of

 Arbitration Statement of Claim] at 56, 62 (alleging breach of the Share Purchase Agreement and

 the Put Option Agreement). In any event, Sofi Classic’s teaching is that “one may not both affirm

 and disaffirm a contract . . . or take a benefit under an instrument and repudiate it.” Sofi Classic,

 444 F. Supp. 2d at 238. Therefore, a party needs to observe the terms of the contract if it gets a

 benefit on the premise that the contract is still valid. That rule squarely applies here.

        7.      Mr. Windhorst has not waived any arguments

        Despite Mr. Sabag’s protestations, Mr. Windhorst has not waived any rights or arguments.

        As an initial matter, Mr. Windhorst has not waived his right to arbitrate his breach of

 contract claim against Mr. Sabag. Mr. Sabag, incorporating his arguments from his Emergency

 Motion (Doc. 122), argues Mr. Windhorst has waived his right to arbitrate his breach of contract

 claim by “failing to raise his arbitration claims in a timely manner with this Court to respond to

 Mr. Sabag’s Supplementary Request for Discovery (Doc. 98) and Motion for Order to Show Cause

 (Doc. 107)” and by “voluntarily asking this Court to grant him additional substantive relief under

 Section 1782 in accordance with federal law.” (Doc. 126 at 39.) At the outset, the issues of delay

 and waiver is for the arbitrator. Lumbermens Mut. Cas. v. Broadspire Mgmt. Servs, 623 F.3d 476,

 480 (7th Cir. 2010) (“presumption is that the arbitrator should decide allegations of waiver, delay,

 or a like defense to arbitrability”); Nat’l Am. Ins. Co. v. Transamerica Occidental Life Ins. Co.,




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 328 F.3d 462, 466 (8th Cir. 2003) (refusing to address waiver of already-pending arbitration which

 “may be presented for the [arbitral] panel’s consideration”). However, even if this Court decides

 to address Mr. Sabag’s waiver arguments, Mr. Windhorst did not waive his right to arbitrate.

 Waiver of a right to arbitrate, as Mr. Sabag acknowledges (Doc. 126 at 39 & n. 37), can only be

 inferred when, “considering the totality of the circumstances, a party acted inconsistently with the

 right to arbitrate.” Kawasaki Heavy Indus., Ltd. v. Bombardier Recreational Prods., Inc., 660 F.3d

 988, 994 (7th Cir. 2011). The key determination is “whether a party manifested an intent to

 proceed with litigation.” Id. at 995.

        Here, the totality of circumstances show that Mr. Windhorst has not waived his right to

 arbitrate. Indeed, Mr. Windhorst has always intended to arbitrate the dispute of whether Mr. Sabag

 is obligated to voluntarily dismiss the 1782 Action. This issue is distinct from the issues Mr.

 Windhorst submitted to this Court in his Motions to Vacate and/or Stay, which pertain to whether

 the Court should have granted Mr. Sabag’s Supplementary Request for Discovery and the OSC

 Motion in the first place now that it has the benefit of a fuller record. See Doc. 115 and 116

 (explaining why the Court should reconsider its order granting the Supplementary Request for

 Discovery and OSC); see also Doc. 115-3 (explaining why the Supplementary Request for

 Discovery should not be granted in the first place for failing to meet the requirements of § 1782).23

 Mr. Windhorst, contrary to Mr. Sabag’s assertion, does not “ask[] this Court to grant him additional

 substantive relief under Section 1782;” rather, he asks the Court to vacate its Order granting

 substantive relief under Section 1782 to Mr. Sabag.



        23
            That the factual background of the breach of Settlement Agreement might be similar to this
 1782 Action does not constitute grounds for a waiver of the right to arbitrate. Denihan v. Denihan, 34
 N.Y.2d 307, 310-11 (N.Y. 1974), 310-311 (“litigation of separate and distinct claims even if involving
 overlapping factual issues will not constitute a waiver of the right to arbitrate”); see also Court v.
 MacWeeney, 195 A.D. 2d 381, 382 (N.Y. App. Div. 1993) (same).


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         Likewise, Mr. Windhorst’s delay in responding to Mr. Sabag’s Supplementary Request

 does not constitute a waiver. First, at the time when Mr. Sabag filed his Supplementary 1782

 Request and the OSC motion, Mr. Sabag had not breached the Settlement Agreement, and

 therefore there was nothing Mr. Windhorst could refer to arbitration. Mr. Windhorst actually filed

 his motion to stay pending arbitration only three weeks after Mr. Sabag breached the Settlement

 Agreement by not voluntarily dismissing the 1782 Action by February 15, 2023, which is far from

 “delay.” Welborn Clinic v. Medquist, Inc., 301 F.3d 634, 637 (7th Cir. 2002) (finding no delay

 when the party moved to compel less than eight months after the initial right giving rise to a cause

 of action).

         Relatedly, as Mr. Sabag has acknowledged, Mr. Windhorst moved to enforce the

 Settlement Agreement in the ICDR arbitration before Mr. Windhorst submitted his Motions to

 Vacate and/or Stay – the same arbitration that Mr. Sabag himself has used to enforce the Settlement

 Agreement.24 Thus, Mr. Windhorst’s first move was to arbitrate, then to vacate. And once Mr.

 Windhorst was instructed by the ICDR to file a new arbitration proceeding (and pay the significant

 filing fee), Mr. Windhorst promptly filed with the ICDR a notice of arbitration and an application

 for emergency relief. Supra, § I.

         Since Mr. Windhorst filed his claims in the ICDR arbitration before making any move in

 this Court, and that Mr. Windhorst’s activities in the Court are to oppose Mr. Sabag’s substantive

 requests for § 1782 discovery and sanctions and to seek a stay of this proceeding pending




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              Mr. Windhorst has not moved to compel arbitration as he assumed Mr. Sabag will honor the
 arbitration agreement that he himself has affirmed. Mr. Windhorst reserves the right to move this Court to
 compel arbitration should Mr. Sabag submit to this Court his firm refusal to proceed the arbitration and
 instead seek to litigate the breach of the Settlement Agreement question.


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 Arbitration, the totality of the circumstances unambiguously shows Mr. Windhorst never waived

 his right to arbitrate.25

         Separately, Mr. Windhorst did not waive the “elections of remedies” argument (Doc. 126

 at 27-28) by not bringing it before the Final Award was issued. The Settlement Agreement clearly

 established that Mr. Sabag’s obligation to dismiss the 1782 Action only arises after Mr. Windhorst

 made the full payment. (Doc. 118-1 at ¶ 5.) Therefore, this defense could not have been made

 before the Final Award was issued. Supra, § II.5.

         8.       Mr. Windhorst’s Alternative Requests Should Be Granted

                  a.         The Court Should Sustain Mr. Windhorst’s Objections Under Rule 72(a)

         As an alternative to vacating the Orders under Rules 55 and 60(b), the Court may exercise

 discretion to sustain Mr. Windhorst’s Rule 72 objections to the Orders. Mr. Sabag does not

 challenge Mr. Windhorst’s arguments that the Court may entertain untimely Rule 72 objections,

 and his arguments on the merits cannot withstand scrutiny. In his opening brief, Mr. Windhorst

 cited authorities for the proposition that district courts have the inherent power to consider late

 objections where they are not egregiously late and do not prejudice the opposing party. Doc. 115

 at 22 (citing Kruger v. Apfel, 214 F.3d 784, 786–87 (7th Cir. 2000)).                     Additionally, Mr.

 Windhorst’s opening brief clearly references his Proposed Opposition which explains in detail that

 Mr. Windhorst’s limited intervention in this 1782 Action does not render him “found” in this




         25
              The cases cited by Mr. Sabag on the waiver point are readily distinguishable. (Doc. 122 at 6).
 Magallanes Inv., Inc. v. Cir. Sys., Inc., 994 F.2d 1214 (7th Cir. 1993) is not instructive because in that case,
 no party initiated an arbitration. In Smith v. GC Servs. Ltd. P’ship, 907 F.3d 495, 500 (7th Cir. 2018), while
 the arbitrable claims were there from the very beginning, the party did not “privately demand” the
 arbitration until “eight months after she filed suit,” and waved another five months before moving to
 compel. The court also found that the party could not provide any justification for this delay. Id. at 500.


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 District for purposes of § 1782. (Doc. 115 at 22-23.) As such, the Court should sustain Mr.

 Windhorst’s Objections under Rule 72.26

                b.      A Stay is Warranted Pending Arbitration

        Without providing any reasoning, Mr. Sabag argues that “Mr. Windhorst’s Motions to Stay

 are Improper, as the Settlement Agreement was terminated. (Doc. 126 at 36-37). However, Mr.

 Sabag’s position clearly conflicts with the “severability” principle of the arbitration agreement. It

 is well-established that “[g]enerally, a broad arbitration clause in an agreement survives and

 remains enforceable for the resolution of disputes arising out of that agreement subsequent to the

 termination thereof and the discharge of obligations thereunder, irrespective of whether the

 termination and discharge resulted from … the breach of the agreement by one of the parties.”27

 Primex Intl Corp. v. Wal-Mart, 89 N.Y.2d 594, 598-99 (N.Y. 1997); see also Sweet Dreams

 Unlimited v. Dial-A-Mattress Int’l, 1 F.3d 639, 643 (7th Cir. 1993) (“the failure to exclude from

 arbitrability contract disputes arising after termination, far from manifesting an intent to have

 arbitration obligations cease with the agreement, affords a basis for concluding that they intended

 to arbitrate all grievances arising out of the contractual relationship.”); Prima Paint Corp. v. Flood

 & Conklin Mfg. Co., 388 U.S. 395, 402 (1967) (affirming Second Circuit’s view that “arbitration

 clauses as a matter of federal law are ‘separable’ from the contracts in which they are embedded,

 and that where no claim is made that fraud was directed to the arbitration clause itself, a broad

 arbitration clause will be held to encompass arbitration of the claim that the contract itself was

 induced by fraud.”).



        26
             Mr. Windhorst’s Rule 72 Objection to the OSC Order is timely as the OSC Order is directly
 related to the Deposition Order. In any event, Mr. Sabag’s complaints are entirely academic as Mr.
 Windhorst has met the Rule 55 / 60(b) standard for vacatur of both Orders.




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         Even if the Settlement Agreement were to hypothetically be deemed invalid, its arbitration

 agreement survives. A stay here would provide the most efficient path to resolve this action, since

 an arbitral award ordering Mr. Sabag to dismiss this proceeding would resolve this action in toto

 (assuming Mr. Sabag complies with the award), and an award to the contrary would narrow the

 issues before this Court.

 III.    CONCLUSION

         For the foregoing reasons, Mr. Windhorst respectfully requests that this Court enter an

 order granting Mr. Windhorst’s Motions to Vacate and/or Stay in substantially the form set forth

 in Mr. Windhorst’s proposed orders (Docs. 115-1, 116-1).

  DATED: March 30, 2023               /s/ Ann O’Connor McCready
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